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                     EXHIBIT L
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                                                                                                                       LARSON


M Gmail                                                                                Sonya Larson <larsonya@gmail.com>



Fiction Submission from Sonya Larson
Sonya Larson <larsonya@gmai!.com>                                                                 Fri, Aug 12, 2016 at 10:41 AM
To: "Wallace, David" <David_Wailace@newyorker.com>

 Dear David,

 Oh my- thank you for your thoughtful reading of my story, and for taking the time to write this note. To read it is an honor
 and a thrill.

 And Hi gladly accept your offer to send more fiction. I'm currently working a story about people of color in national parks-
 once it's finished, I shall send it your way.

 Sincerely,
 Sonya

  On Thu, Aug 11, 2016 at 2:42 PM, Wallace, David <David„Wal!ace@newyorker.com> wrote:
  ) Dear Sonya,

    Thanks for writing, and sorry our response time is so delayed. I enjoyed reading "The Kindest." There's
    some very tactile writing in it ("the icy vodka in the Mount Rushmore mug. The washing machine and the stray
    coins vibrating across.”) and the prickliness of the speaker’s voice is memorable. Unfortunately this one’s not quite right
    for us—we’l! have to pass—but I encourage you to submit more fiction to us. You can send to me at this address if
  { you’d like. Thanks again.

  j Best,
    David Wallace
    Fiction Coordinator
    The New Yorker

  [ From: Sonya Larson <larsonya@gmail.com>
  j Date: Monday, January 18,2016 at 6:18 PM
  | To: TNY Fiction <TNY_Fiction@advancemags.com>
    Subject: Fiction Submission from Sonya Larson
  i
      Dear Ms. Treisman and the Editors of The New Yorker,

  | Please consider my story, “The Kindest,” for the pages of The New Yorker. My friend and author Celeste Ng
  I has urged me to send it your way.
  I
  j My short fiction and nonfiction has appeared or is forthcoming in American Short Fiction, the American Literary
  j Review, Poets & Writers, Audible.com, West Branch, Del Sol Review, The Red Mountain Review, and The
    Hub. I have received honors and fellowships from Best American Short Stories 2015, the Vermont Studio
    Center, the University of Wisconsin-Madison, the St. Botolph Club Foundation, and the Bread Loaf Writers'
    Conference.
  '
  I I currently work as the Assistant Director of the Muse and the Marketplace literary conference, hosted by
  ; GrubStreet in Boston. I am also studying fiction in the MFA Program for Writers at Warren Wilson College.
  i
  i Thank you for your thoughtful reading, and I look forward to hearing from you!

  I Sincerely,
  : Sonya Larson



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